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UNlTED STA`TES'DISTRiCT GQURT
DISTRICT G)F MASSACHUSETTS

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JOHN DOE I, JOHN DOE II, JOHN DOE' HI,
JOHN DOE IV, JANE DOE I, SUSAN E.
SCHUMANN, CHARLES RICHARDSON,
NANCY LESSIN, JEFFREY MCKENZlE,
REPRESENTATIVE JOHN CONYERS,
REPRESENTATIVE DENNIS KUCINlCH,
REPRESENTATIVE JESSE JACKSON, J'R.,
REPRESENTATIVE SHEILA JACKSON
LEE, REPRESENTATIVE JIM

E Civil Action
MCDERMOTT and REPRESENTATIVE 1

No.

JOSE E_ S'ERRANO,
Plaintiffs,

V.

PRESIDENT GE()RG`E W. BUSH and

SECRETARY O`F DEFENSE DONALD H.

RUMSFELD, each in their official capacity,
Defendants.

 

M'EIVIORANDUM OF LAW IN SUPP()RT ()`F PLAINTIFFS’
MOTION FOR A PRELIMINARY INJUNCTION

 

II.

III.

IV.

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MEMORANDUM OF LAW lN SUPPORT OF PLAINTIFFS’
MOTION FOR A PRELIMINARY INJUNCTION

The Plaintift`s, including United States soldiers, parents of United States soldiers,
and l\/[crnbcrs of Congress, seek to enjoin the Defendant President George W. Bush and
Defendant Secretary of Defense Donald H. Rurnst`eld from launching a military invasion
of Iraq without the Congressional declaration of war required by the Constitution.

This case is of enormous and immediate public interest Article I, § 8 of the
United States Constitution states that “Congress shall have Power. . . [t]O declare War.”
The framers of the Constitution included this clause to ensure that the awesome power to
send this nation into war would not be given to the single person heading the EXecutive
Branch but rather would be reserved for the elected body of the United States Congress.
Congress has not declared war against Iraq. The October 2002 Joint Resolution of
Congress was not a declaration of war. The defendants’ plans for an imminent military
invasion of lraq, absent a Congressional declaration of war, demand immediate judicial
intervention.

Argument

The Plaintiffs are entitled to a preliminary injunction because they have shown
that l) they are likely to succeed on the merits of their claim; 2) they will suffer
irreparable harm in the absence of the requested inj unction; 3) the balance of equities
favors the grant of an injunction; and 4) the public interest would be Served by an

injunction Cablevisz`on, Inc. v. Pu})lic Improvemem Comm ’n QfB().rton, 184 F.3d 88, 95

(lst Cir. 1999); Philip Morris, Inc. v. Harshbarger, 159 F.3d 670, 673 (lSt Cir. 1998).

 

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I. THE .PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
BECAUSE CONGRESS HAS NOT DECLARED WAR AGAINST IRAQ.

A. The President Lacks Constitutional Authority To Commence War Absent
A Congressional Declaration.

The Constitution vests the power to commence war exclusively in Congress.
Article I, § 8, cl. l l states that “Congress shall have Power [t]o declare War.”
Numerous other provisions specifically reserve to Congress the powers necessary to
commence awar. See U. S. Const. art. l, § 8, cl. l, ll»l6; id. § 9, cl. 7; l The Works of
James Wilson 433 (R. l\/IcCloskey ed. 1967) (“[A]ll these are powers naturally connected
with the power of declaring war. All these powers, therefore, are vested in Congress.”).
Article II, § 2, cl, l, makes the President “Commander in Chief of the Army and Navy.”
His position at the top of the military hierarchy only gives him power to make war once
Congress has declared war or taken equivalent action, and then only within the limits
Congress prescribes See Flemz`ng v. Page, 50 U.S. (9 How.) 603, 615 (1850) (holding
that a Congressional declaration of war conferred nothing more than the power of a
military commander on the President); Lz`ttle v. Barreme, 6 U.S. (2 Cranch) 170 (1804)
(holding that in an undeclared war, the President’s authority was limited to those acts
authorized by Congress); Talboz‘ v. Seeman, 5 U.S. (1 Cranch) 1, 8 (1801) (noting that the
Constitution vests “[t]he whole powers of war” in Congress); Bas v. Tz`ngy, 4 U.S. (4
Dall.) 37, 40 (1800) (Washington, J.) (recognizing Congress’s power to authorize
undeclared wars); see also Ex parte Millz`gan, 71 U.S. (4 Wall.) 2, 139 (1866) (Chase,
C.J., concurring) (“Congress has the power not only to raise and support and govern

armies but to declare war. This power necessarily extends to all legislation essential to

the prosecution of war with vigor and success, except such as interferes with the

 

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command of the forces and the conduct of campaigns That power and duty belong to the
President as commander-in-chief.”)

The framers clearly intended this division of authority. See, e.g., 6 The Writings
OfJames Madison 148 (G. Hunt ed. 1906); The Fea’eralist No. 69, at 448 (Hamilton) (.l.
Cooke ed., 1982). The original wording of the Declare War Clause gave Congress the
power to “make war,” but the framers changed the language to “declare war” for two
reasons. They wanted to make clear that the President, as Commander in Chief, would be
responsible for day»to-day conduct of any Congressionally authorized war, and that the
President could use the armed forces to “repel Sudden attacks” without Congressional
authorization See 2 The Records of the F ederal Conventz`on of l 78 7, at 318-319 (M.
Farrand, ed. 1911); Lofgren, War-Makz'ng Una’er the Constitution.' T he Original
Una'erstandz`ng, 82 Yale L.J. 672_, 675-»83 (1972).

The political branches have respected this division throughout most of the
nation’s history. While there have been numerous undeclared wars, common even in the
framers’ time, most of them were statutorily authorized by Congress. See S. Rep. No.
797_, 90th Cong., lSt Sess. 23 (1967) (“[T]he practice of American Presidents for over a
century after independence showed scrupulous respect for the authority of the Congress
except in a few instances”); Ely, War and Responsibilily.' Constitutional Lessons of
Vietnam and lrs Aftermath 147 n.54 (1993). While in the last half»century presidents
have increasingly asserted “inherent” war-making power, Congress has acted to authorize
such wars. See Da Costa v. Laira’, 448 F.2d 1368 (1971). In fact, Justice Black, in his

opinion for the Court in Youngstown Sheet & T abe Co. v. Sawyer, 343 U.S. 579, 587-88

(1952), expressly denied that the “executive power” in Article II, § 1, cl. 1 vested any

 

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general war-making power in the Executive. In any case, the Executive Branch cannot
appropriate a power that the Constitution expressly reserves to Congress, without, at the
least, “"a systematic, unbroken, executive practice, long pursued to the knowledge of the
Congress and never before questioned.” Youngstown, 343 U.S. at 610 (Franl<furter, J.,
concurring). No such practice justifies the currently threatened invasion of Iraq.

The framers’ rationale for separating the power to degla£ war - vested in
Congress - from the power to wage a declared war - given to the President as
commander-in~chief - remains compelling today. See generally Ely, War and
Responsil)z`lz`ty 3-4. First, war was not to be entered into lightly, and thus required “the
utmost deliberation_, and the successive review of all the councils of the nation.” 2 Justice
Story, Commentarles on the Constitution ofthe Um`tea' Staz‘es §§ l 166 (1833). Second,
the inclusion of both houses (usually only the Senate participates in foreign affairs
decisions) would slow down, by design, the decisionmaking process. As .l ames Wilson
said: “This system will not hurry us into war; it is calculated to guard against it.” 2
Debates in the Several State Conventions on the A¢loption of the F ederal Constitution
528 (.l. Elliott ed. 1863). Third, the inclusion of the House (“the people’s house”)
ensured that the war would have the support of the public at large. Ely, War and
Responsz'bilz`ty 3-4. Since the nation’s founding, the need to exercise caution in entering
war has increased, while the barriers to commencing hostilities have largely crumbled.
War has become more destructive; the speed with which the President may deploy troops
or launch a strike has increased dramatically; the nation not only has a standing army, but

one composed primarily of volunteers; and Congress has more staff and spends more of

the year in session than in earlier centuries, and thus can proceed more quickly. See Ely,

 

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War and Responsll_)ility 7-9. Congressional deliberation remains a primar§`d'feguard
against the “dogs of war.”

Similarly_, the constitutional allocation of the war power serves several
overarching structural values, all of which have increased in relevance over time. First,
while the Constitution seeks to create an effective national govemment, it also seeks to
preserve individual liberty and local autonomy by limiting the national government’s
enumerated powers and dividing those powers among the three branches of government.
Apart from popular election, the most obvious distinction between the British monarch
and the American President was the latter’s lack of authority to commence war. This
difference arose out of a conscious recognition that war tends to shift power from the
legislative and judicial branches toward the executive, and from the state governments
toward the national government, while it creates an environment more hostile to
individual liberty. As the power of the national government and the presidency has
grown over the last century, the need to retain the remaining bulwarks against executive
and federal aggrandizement and encroachment has increased Cf., e.g., Alden v. Maine,
527 U.S. 706 (1999); Printz v. United States 521 U.S. 898 (1997); Seminole Trlbe v.
Florida, 517 U.S. 44 (1996); Unlted States v. Lopez, 514 U.S. 549 (1995); New York v.
Um'ted States, 505 U.S. 144 (1992). Second, the governmental procedures set out in the
Constitution ensure the accountability of govemment, and the Supreme Court has
grounded its enforcement of separation of powers and federalism in this value. See, e.g.,

New York _, 505 U.S. at 168-69, 177, 182-83 (striking down a statutory provision that

“commandeered” state legislatures in a way that would allow both federal and state

 

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legislators to avoid being held accountable for the choice of location for radioactive
waste disposal sites).

B. Congress Has Taken No Action That Would Give The President The
Power To Make War With Iraq.

No Congressional statute, action, or combination of statutes or actions has
commenced war with lraq or given the President the authority to commence such a war.
The resolution passed by Congress last October (the “October Resolution”) has been
cited as a sufficient proxy for a Congressional commencement of war, but the
Resolution’s language, context, and legislative history show that it is not a declaration of
war. In particular, it expresses three basic ideas: Congress supports the President’s
diplomatic efforts; Congress authorizes the President to use limited force as necessary to
protect American and United Nations troops; and should the Security Council determine
that use of force is necessary, Congress likely will supply the constitutionally required
declaration of war or equivalent action at that time. This narrow reading is further
justified, because a broad reading would render the Resolution unconstitutionall

1. The October Resolution Does Not Permit the President to Make War

With Iraq.

In the October Resolution, Congress sought to support the President in
international diplomatic efforts to bring Iraq into compliance with United Nations
Security Council resolutions_, not to commence hostilities with Iraq. First, nearly two-
thirds of the paragraphs in the preamble refer to lraq’s violations of international law, and

how important it is for the United States to work with the international community,

subject to the strictures of international law and to consensus within international

 

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organizations, to remedy these violations.l Second_, in § 2, “Support for United States
Diplomatic Efforts,” Congress expresses support for presidential efforts to enforce
Security Council resolutions regarding lraq only through the Security Council itself.
Nowhere does Congress contemplate action outside of that diplomatic process. There is
no support for or discussion of bilateral negotiation between the United States and Iraq,
or of the possibility of unilaterally going to war with Iraq.

The Resolution authorizes the President to use United States Armed Forces to
“defend the national security of the United States a_n_Q [as opposed to “or”] enforce all
relevant United Nations Security Council resolutions regarding Iraq.” Pub. L. No. 107-
243, § 3(a), 116 Stat. at 1501 (emphasis added). Throughout the preamble, Congress
invariably ties United States national security and “international peace and security” to
one another - they are closely intertwined concerns, both of which Congress seeks to
address through a single process of international cooperation. See Pub. L. No. 107-243,
preamble 11 23, 116 Stat. at 1500 (“[I]t is in the national security interests of the United
States to restore international peace and security to the Persian Gulf region.”); id. 1111 1,

5_6_, 19_, 116 Stat. at 1498, 1500. Thus, the Resolution authorizes the President to work

 

l See Pub. L. No. 107-243, preamble 11 1, 116 Stat. 1498, 1498 (0ctober 16, 2002) (referring to Iraq’s
“illegal occupation of Kuwait” and the United States’s efforts to “enforce United Nations Security Council
resolutions” as part of“a coalition of nations”); id. 11112_4 (referring to Iraq’s violations of the “United
Nations sponsored cease-fire agreement” and “attempt[s] to thwart the efforts of [United Nations] weapons
inspectors”); id. 1111 5-7, l 16 Stat. at 1498~99 (conveying Congress’s continuing sense that Iraq is
threatening “intcrnational peace and security,” “breach[ing] its international obligations” to comply With
Security Council resolutions regarding weapons, treatment of the domestic population, and detention of
non-Iraqi citizens); id 11 9, l 16 Stat. at 1499 (noting attacks on “Coalition Armed Forces engaged in
enforcing the resolutions ofthe United Nations Security Council”); id. 1111 14-»-16, 116 Stat. at 1499_1500
(describing Congressional and Security Council resolutions intended to ensure enforcement of Iraq’s
international obligations, as expressed United Nations Security Council Resolutions 660, 661, 662, 664,
665, 666, 667, 669, 670, 674, 677, 678, 687, 688, and 949); id 1111 18-19, 116 Stat. at 1500 (supporting
President Bush’s expressed desire to “work with the United Nations Security Council to meet our common
challenge,” to pass “necessary resolutions,” and to enforce Security Council resolutions); id. 1111 23, l 16
Stat. at 1500 (reaffirrning the desire to “restore international peace and security”).

 

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with the Security Council to implement diplomatic actions, and to determine whether the
use of force is likely to be necessary.

lt is hardly surprising that the Resolution should fail to contemplate use of force
outside of a United Nations coalition, given the international legal context within which
the Resolution sets itself. Under the United Nations Charter, to which the United States
is a party and under which the United Nations Security Council operates, there are only
three justifications for a state to use force against another state: self-defense; defense of
another state; and action to protect international peace and security, when authorized by

the United Nations Security Council. United Nations Charter, art. 2, para. 4 (requiring all

 

Members to “rcfrain from the threat or use of force against the territorial integrity or
political independence of any state”); id. art. 51 (permitting “individual or collective self-
defense if an armed attack occurs against a [Member state], until the Security Council has
taken the measures necessary to maintain international peace and security”); id. art. 39»~
42 (empowering the Security Council to authorize the use of force “to maintain or restore
international peace and security,” but only as a last resort). The Resolution refers
repeatedly to Iraq’s violations of international law, particularly in the form of unlawful
aggression against other nations and its own population, and to the need to bring Iraq into
compliance with the Security Council’s demands, through the efforts of the Security
Council. lt would be anomalous to condemn Iraq’s failure to comply with the United
Nations Charter and with Security Council resolutions passed thereunder, while at the

same time authorizing the President himself to act outside of the same international legal

framework

 

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This Court need not decide the difficult question whether the United Nations
Charter or customary international law would forbid Congress from unilaterally declaring
a non-defensive war or from permitting the President to do so; what matters here is that
the Resolution orders the President to operate within the Charter’s strictures. By means
of the Resolution, Congress has stated that it will adopt the United Nations’s standards as
its own.

Furthermore_, while the Resolution does support the President’s work within the
Security Council, it does n_ot permit the President to attack Iraq, even with United Nations
Security Council approval Such a conditional grant of authority to use force
unconstitutionally would delegate Congress’s power to commence war to the President
(if not to the United Nations Security Council). See infra. Rather, the grant is best
understood as accomplishing two things. lt permits the President to use limited force to
respond to Iraqi attacks on American or United Nations troops in the region, and it
conveys the message that should the Security Council advocate the use of force, the
Congress would be willing to support that determination, at the time it is made, through
the constitutionally required declaration of war or equivalent action.2

This structural emphasis on exhausting diplomatic means, using the least amount
of force necessary to accomplish United Nations goals, and working Within the United

Nations framework makes clear that the authorization for the President “to use the Armed

 

2 This reading is especially plausible in light of the history of troop deployment Congress is merely
providing necessary approval for the President’s deployment of troops in an unstable region and his
potential use of force to protect those troops. Such deployment might otherwise be unconstitutional While
Congress’s powers to raise and direct armies and to commence war include the power to direct deployment
of troops, Congress has traditionally given the President discretion to deploy troops as part of his exercise
of the foreign affairs power he shares with Congress. However, when President Polk deployed troops in
such a manner as to encourage the attack that commenced the Mexican War, thus effectively usurping
Congress’s authority to determine when Wars should commence, the House of Representatives censured
him for unconstitutional behavior. See Ely, War and Responsibility 96, 143 n.22.

 

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Forces as he determines to be necessary and appropriate” is in fact quite narrow. Pub.
L. No. 107~243, 116 Stat. at 1501. The same can be said for the declaration that the
Resolution “constitute[s] specific statutory authorization” under the War Powers
Resolution_, and the contemplation that after the use of force, planning for Iraq’s
transition to democracy might be necessary under the Iraq Liberation Act of 1998. Pub.
L. No. 107-243, §§ 3(c)(l) & 4(a), 116 Stat. at 1501. These provisions must be
understood as expressing Congress’s sense of what ultimately may become necessary,
and as a signal that Congress will likely approve whatever force is deemed necessary
when the time for decision comes.

The legislative history of the October Resolution supports the above reading of
the statutory text.3 The House lnternational Relations Committee concluded that the
Resolution should permit use of military force in Iraq only “under certain circumstances.”
H.R. Rep. No. 107-721_, at 4 (2001). The Committee took the view that “providing the
President with the authority he needs to use force is the best way to avoid its use,” to
“persuade Iraq to meet its international obligations,” and “to persuade members of the
Security Council and others in the international community to join us in bringing pressure

on Iraq ....” H.R. Rep. No. 107-721, at 4*5. The Committee also limited the President’s

 

3 There are in fact two elements in the legislative history that appear inconsistent with its otherwise clearly
expressed intent. The first is the suggestion that “the President has authority under the Constitution to take
action in order to deter and prevent acts of international terrorism against the United States.” l-l.R. Rep.
107-721, at 8. This statement can be understood as a mere restatement of the Well-accepted idea that the
President has the authority to “repel sudden attacks.” To the extent it constitutes a broader understanding
of Executive authority, it is neither an accurate nor a binding statement of constitutional doctrine, nor is it
necessarily inconsistent with the idea that the President will almost certainly have to come back to
Congress for a declaration of war or equivalent act. If attacking Iraq were somehow necessary to prevent
terrorism, Congress would have demanded that the President do so months ago, and he would have obliged.

The second is thc statement that “[t]he resolution would leave the decision to use force to the discretion
of the President.” l~I.R. Rep. 107-721, at 40. This statement should be read as a statement that Congress
will not declare War unless the President feels it is necessary. After all, Congress’s delegation of that sort
of discretion would be unconstitutional ln any case, the statement comes from the Congressional Budget
Office, not the Committee itself, and is thus by no means representative of the Committee’s views.

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authority to actions taken “in accordance with the Constitution and relevant laws of the
United States.” H.R. Rep. No. 107-721, at 6. Thus the President could not exercise war-
making authority that Congress was unable to grant him. The Committee also expressed
approval of the President’s stated commitment “to work with the U. N. Security
Council.” H.R. Rep. No. 107-721, at 7-8 (internal quotation marks omitted). The
Committee clearly did not contemplate war at the time, given the absence of any
appropriation for present or future warmaking, H.R. Rep. No. 107-721, at 39-40.

Finally, the resolution should be read in light of the events surrounding the time
of its passage Subsequent to the resolution’s passage, the United States spearheaded
United Nations approval of Resolution 1441 that imposed a new inspections program. ln
recent weeks, it has become increasingly clear that the United States’ decision whether or
not to go to war should turn on two crucial assessments

The first must be a careful appraisal of the results of the United Nations
inspections program now underway, including the nature of lraq’s cooperation and
discl.osure. The second and ultimate judgment will require weighing the implication of
the inspections’ results, and any other information about the threat Iraq poses to the
United States, against the full costs of going to war. Those costs include: combat and
civilian casualties; prolonged occupation and reconstruction of Iraq; the impact on
stability in the region; the impact on the nation’s diplomatic relations; the impact on the
U.S. war against Al Qaeda; and the impact on funds available for Homeland Security and
other domestic needs.

Clearly, these are not merely military judgments for the Commander in Chief.

They are precisely the kind of complex national policy decisions that the framers

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conferred on the Congress in matters of war and peace. Yet, in the present
circumstances, if an injunction is not issued, the Congress will play no real role in the
fateful determination that is their most profound prerogative and responsibility under the
Constitution.

2. A Broader Reading of the October Resolution Would Render it
Unconstitutional, So This Court Should Read it Narrowly.

Any interpretation of the Resolution broader than the one above would render the
Resolution unconstitutional The Supreme Court has stated on numerous occasions
(famously in Justice Brandeis’s concurrence in Ashwana'er v. Tenn. Valley Auth., 297
U.S. 288, 348 (1936)) that when a statute has multiple plausible meanings, a court should
construe it to avoid raising serious constitutional problems. See, e.g., Edward J.
DeBartolo Corp. v. Fla. GulfCoasl.‘ Bldg. & Constr. Trades Council, 485 U.S. 568, 575
(1988). The Court has also developed a number of canons of construction to protect
various constitutional values, many of which apply here. A vague Resolution,
unaccompanied by any provision for appropriations or a draft, does not constitute a clear
statement of Congressional intent to make war with Iraq. See DaCosra v. Laird, 448 F.2d
1368, 1369 (lst Cir. 1971) (holding that Congress’s continued military appropriations
and extension of the draft constituted “ratification” and “approval” of executive actions in
Vietnam, even after the repeal of the Tonkin Gulf Resolution).

First and most importantly, Congress may not delegate to the President the
decision to commence a war, and if the October Resolution does so, it is unconstitutional
The Constitution plainly lodges the power and responsibility for commencing war in
Congress. lf Congress can just “1eave the decision to use force to the discretion of the

President,” H.R. Rep. 107-721, at 40, then it undermines the entire constitutional scheme.

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A broad reading of the October Resolution would subvert the distinction made in
the early cases, still influential today, between declared (“perfect”) wars, in which the
President and all citizens were authorized to make war against an enemy, and undeclared
(“imperfect”) wars, in which the President could only engage in actions specifically
authorized by Congress Bas v. Tz`ngy, 4 U.S. (4 Dall.) 37, 40 (1800) (Washington, J.);
see Lin‘le v. Barreme, 6 U.S. (2 Cranch) 170 (1804); Talbot v. Seeman, 5 U.S. (l Cranch)
l, 8 (1801); discussion supra There is an obvious tradeoff in this dichotomy. Because
Congress may not devote the same amount of deliberation and solemnity to undeclared
wars as it does to declared ones, the safeguards of prudence and delay give way to the
safeguards that come with cabining of the President’s war-making discretion. The
October Resolution neither makes a solemn declaration of war nor limits the acts of war
the President may commit.

lndeed, war may be waged only after considered deliberation by both of the
political branches However, Section 3 of the October Resolution, read broadly, allows
the President to make the decision entirely by himself. Section 3 purports to “authorize”
the President to use the Armed Forces “as he determines to be necessary and
appropriate,” if he decides that “diplomatic or other peaceful means” will not work and
that the use of force is “consistent” with national and international attempts to fight
terrorism. Abraham Lincoln’s words make it clear what is at stake:

Allow the President to invade a neighboring nation whenever he shall deem it

necessary to repel an invasion, and you allow him to do so whenever he may

choose to say he deems it necessary for such purpose - and you allow him to

make war at pleasure. Study to see if you can fix any limit to his power in this
respect, after you have given him so much as you propose.

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Letter from Abraham Lincoln to William H. Herndon (Feb. 15, 1848), in 1 T he Collected
Works ofAbraham Lincoln 451, 451-52 (R. Basler ed., 1953).

lt is no answer to say that Congress remains free to stop any war that the President
might commence. When Congress vests discretion in the President to start a war, the
default condition switches from peace to war, in a Way that separation of powers
principles cannot permit. Cf. Heckler v. Chaney, 470 U.S. 821, 832 (1985) (holding that
unlike administrative action, agency inaction is generally not subject to judicial review, in

part because inaction “generally does not exercise its coercive power over an individual's

 

liberty or property rights”). ln INS v. Chadha, the Supreme Court rightly rejected Justice
White’s claim that the legislative veto regime was functionally equivalent to Article 1
procedures, in part because the regime changed the default. 462 U.S. at 952; id. at 990
(White, J ., dissenting). lt was true that, if all three branches agreed, then an otherwise
deportable alien could remain in the country. However, in the case of legislative
disagreement when the Executive made such an exception, the legislative veto allowed a
majority vote by one house of Congress to achieve what would otherwise likely require
sufficient super-majorities in both Houses to override an Executive veto. ln the present
context, one can imagine a scenario where, several months from now, the President wants
to go to war, but majorities in both houses do not. Absent a delegation to the President of
war-making authority, Congress need only refuse to act, in order to prevent war. With
discretion vested in the President, Congress would need at least to mobilize majorities in
both houses, and would probably need veto-proof majorities

ln the context of war, the change in the default condition has more than merely

mathematical consequences ln light of the President’s enormous power to shape public

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opinion, it is difficult for Congress to summon a bare majority to resist Executive
pressure to commence a war. Once a President actually commences a war, he has
momentum on his side, and can accuse dissenters of refusing to “Support the troops”;
these together make effective Congressional resistance even harder to accomplish For
similar reasons, Congress’s power of the purse does not constitute an effective check on
discretionary Executive war-making Even if it did, “the fact that one [branch] has
mechanisms available to guard against incursions into its power by other [branches] does
not require that the Judiciary remove itself from the controversy by labeling the issue a
political question.” United States v. Munoz-Flores, 495 U.S. 385, 393 (1990).

Congressional delegation of war-making power also undermines the guarantees
that a war will have widespread popular support and that legislators will be held
accountable for the decision to go to war. Of course, the President is popularly elected,
and will be held accountable regardless of whether Congress is, but that is precisely the
point. The President’s motivations remain the same whether Congress participates in the
decision or not. The mere fact that Congress does not wish to make the decision about
whether to go to war does not absolve it from deciding. See New York v. United States,
505 U.S, at 168-69, 177, 182-3. lf that means the country cannot go to war, so be it. lt
is no accident that the Constitution provides no mechanism for the Executive to make war
(except to repel sudden attacks), should Congress be unwilling to start a war.

Finally, vesting the President with the discretion to start a war also removes
whatever braking effect Congressional deliberations might have on the speed with which

the nation enters war. The war will start the moment President Bush makes his decision.

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The problems with broad delegation of war-making authority are nicely illustrated
by the most recent instance where Congress afforded a president virtually unbounded
discretion to make war -the Gulf of Tonkin Resolution, Pub. L. No. 88-408, 73 Stat. 384
(1964). The language is startlineg similar to that in the October Resolution: “[T]he
United States is prepared, as the President determines to take all necessary steps,
including the use of armed force, to assist any member of protocol state of the Southeast
Asia Collective Defense Treaty.” Pub. L. No. 88-408, 73 Stat. at 384 (emphasis added).
After its passage, President .lohnson claimed broad authority under it and plunged the
nation into a war that killed 58,000 Americans and at least one million Vietamese. See
Meyerson, “Decision on war belongs to Congress,” Baltz`more Sun, at 21A (Oct. 9, 2002);
Ely, War and Responsz`bility 13. Once President Johnson had enmeshed troops in the
conflict, it took nearly seven years for Congress to repeal the resolution (war was the
default and the President had inertia on his side). Even then, President Nixon still did not
end the war (the President gains strength in war time, and can check Congressional
efforts to end war). Meyerson, “Decision on war belongs to Congress,” Baltlmore Sun, at
21A. By leaving the decision as to when to go to war to the President, Congress failed to
ensure that the Vietnam War would have widespread public support, with disastrous
consequences

The comparison with Vietnam is instructive for two additional reasons First, in
the Vietnam era Congress continued to appropriate money and authorize the draft,
making it clear that a state of war existed. See DaCosla v. Laz`rd, 448 F.2d 1368, 1369
(1st Cir. 1971). With regard to lraq, in contrast, it is not at all clear that the United States

is at war with lraq, and no appropriation has been made. This sort of ambiguity flies in

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the face of the constitutional values discussed above, and demonstrates that the October
Resolution is constitutionally deficient as a declaration of war.

Second, the war in Iraq is one of the most obvious instances in this nation’s
history where the requirements of the Declare War Clause should be scrupulously
observed. The President has contemplated invasion, occupation, and “regime change” in
lraq. The only way to make more total war against lraq Would be to destroy it utterly. A
commitment like that requires a clear statement by Congress The only instance in recent
memory where the United States engaged in such an invasive war was in Afghanistan,
and that was in response to one of the most significant military emergencies the United
States has experienced since the bombing of Pearl Harbor. Presumablyn if the President
or Congress thought that lraq truly posed an imminent threat to national security, we
already would be at war. These observations demonstrate two related aspects of the
potential war in lraq -the opportunity the United States government has had for
premeditation_, and the comparative lack of emergency. ln World War l, the Korean War,
and the Vietnam War, the United States was responding to threats to strategic allies ln
World War ll and Afghanistan, it was responding to direct attacks on the homeland. But
here, the United States is contemplating a preemptive total war against a country that
does not appear, at least from the conduct of the political branches to pose an imminent
threat to the United States or its allies lf ever there was a time in history for a court to
“state what the law is,” Marbury v. Madison, 5 U.S. (l Cranch) 137, 177 (1803), it is

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3. Even if the October Resolution Complies with Constitutional Strictures, it
Does Not Comply With the War Powers Resolution of 1973.

The War Powers Resolution of 1973 requires “specific statutory authorization”
before the President can make war. Pub. L. 93-148, 87 Stat. 555 (1973). The alternative
grounds for hostilities - a congressional declaration of war or “a national emergency
created by attack upon the United States, its territories or possessions or its armed
forces” - do not apply in this instance. lt is clear that unless repealed, these requirements
can bind future Congresses, and that the October Resolution both claims to constitute
“specific statutory authorization” and expressly denies that it in any way “supersedes any
requirements of the War Powers Resolution.”

However, the October Resolution is not in fact “specific” enough to meet the
requirements of the War Powers Resolution, as they emerge from an analysis of purpose
and context. The War Powers Resolution was passed near the end of the Vietnam War,
in an effort to ensure that in the future Congress would be less likely to abdicate its
constitutional responsibility to decide whether the nation should go to war. Ely, War and
Responsibility 48. ln other words, the purpose of the War Powers Resolution is to
prevent future Vietnams.

There are several mechanisms by which the War Powers Resolution sought to
achieve this end: requirement that the President report to and consult with Congress
regularly throughout the duration of any hostilities (§§ 3-5); requirement that the
President withdraw troops within 60 days (which can be and probably would virtually
always be extended by 30 days), unless Congress affirmatively authorizes continued
hostilities (§5(b)); allowing a legislative veto to halt hostilities at any time (likely invalid

under Chadha, but separable under § 9) (§5(0)); establishing an interpretive rule that no

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statute or treaty shall be construed to infer authorization to introduce American troops
into hostilities (§ 8).

From this scheme emerges two basic lines of defense against future Vietnams,
and they shed light on the meaning of “specific statutory authorization.” The first
includes efforts to ensure accountability once a military engagement has begun
(consultation, reporting, Congressional approval within 60-90 days). The second
includes efforts to prevent military engagement and, more importantly, escalation in the
first place (specific conditions under which hostilities can commence). ln this latter
category, the canon of ejusdem generis requires that the “specif.ic statutory authorization”
requirement be interpreted in light of the alternative avenues to hostilities On the one
hand, a congressional declaration of war is a clear and solemn statement committing the
nation to war - a statement for which the Congress can absolutely be held accountable
On the other, a response to an armed attack on the United States, its possessions or its
troops is the most clearly recognized exception to the Congressional declaration
requirement, and a response for which the President can be held absolutely accountable
Thus, if § 2 of the War Powers Resolution is to be something more than a dead letter, g
“specific statutory authorization” must create both the obvious state of war and the clear
location of responsibility that a declaration or armed attack would.

The October Resolution demonstrates no such clarity. No one could read it and
tell whether the nation was in fact at war. Read broadly, it grants discretion to the
President in such a way that no one would know where to locate responsibility, were a
war to commence ln fact, the October Resolution gives the President the same kind of

discretion to escalate hostilities, merely by asserting his opinion that such action is

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“necessary and appropriate,” that the Gulf of Tonkin Resolution did. The War Powers
Resolution can be understood as an attempt to ensure that no Congress would ever again
give this kind of war-making discretion to a President, yet that is precisely what the
October Resolution (read broadly) does

For all of the above reasons, the Plaintiffs are likely to succeed on the merits of
their claims

II. THE PLAINTIFFS WILL SUFFER IRREPARABLE HARM IF THE
DEFENDANTS LAUNCH A MILITARY INVASION OF IRAQ
ABSENT A CONGRESSIONAL DECLARATION OF WAR.

By waging war against lraq absent a Congressional declaration of war, the
Defendants will endanger the lives of Plaintiffs John Doe I, John Doe ll, John Doe lll,
the sons of Plaintiffs John Doe lV and lane Doe l, Susan E. Schumann, Charles
Richardson and Nancy Lessin, Jeffrey McKenzie and tens of thousands of similarly
situated United States soldiers in an illegal and unconstitutional war. lf the injunction is
not granted, Plaintiff-soldiers and family members will suffer irreparable harm, including
death, loss of family members serious injury, and psychological trauma associated with
the horrors of war.

By waging war against lraq absent a Congressional declaration of war,
Defendants will deny Plaintiff-Members of Congress their right, under Article l § 8 of the
United States Constitution, to vote on whether or not to declare war. lf the injunction is
not granted, Plaintiff-l\/lembers of Congress will suffer irreparable harm as they will be
prevented from exercising this constitutional right and from representing their

constituents in the decision of whether or not to send this nation into war.

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To prevail on their motion for preliminary injunction, the plaintiffs must
demonstrate that the threatened injury is “not remote or speculative, but is actual and
imminent."’ Sierra Club v. Larson, 769 F. Supp. 420, 422 (D. l\/lass. 1991). The injury
must be of such imminence that there is a clear and present need for relief to prevent
irreparable injury. Id. The President, the Secretary of Defense and the Secretary of State
have made it unmistakably clear that an invasion of Iraq is imminent and have voiced no
intention of seeking a Congressional declaration of war. The threat of irreparable harm
against the plaintiffs is not speculative but a virtual certainty in the immediate future

The drumbeat of war sounds more deafening by the day. President Bush set the
stage in his State of the Union address on lanuary 28, 2003, stating that Saddam Hussein
had missed his “final chance” by showing contempt for United Nations weapons
inspections State of the Union Address http://www.whitehouse.gov/news/releases/2003.
He emphasized that the administration reserved the right to unilaterally decide to invade
lraq, proclaiming that “[t]he course of this nation does not depend on the decisions of
others.” Id. The Congress and members of the media clearly understood his message
See, e.g., Remarks of Senator Bingaman, 149 Cong. Rec. Sl767-01 (Jan. 30, 2003) (“as l
understood the President in his State of the Union speech earlier this week, it is his
intention to begin military action against lraq sometime in the near future”); Dana
l\/lilbank and Mike Allen, Bule Stiffens Warning of War With Iraq, Wash. Post (.l an 29,
2003) at A_, 2003 WL 10893702 (“President Bush took the nation to the edge of war with
Iraq last night”).

Anticipating the President’s address Secretary of State Colin Powell declared on

January 24, 2003 that “[t]he question isn’t how much longer do you need for inspections

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to work. lnspections will not work.” Glenn Kessler, Moderate Powell Turns Hawkish on
War With Iraq, Wash. Post (Jan. 24, 2003) at A, 2003 WL 10892661. After his
presentation to the United Nations on February 5, 2003, Secretary Powell informed the
Senate that “within weeks” the Iraqi situation would be brought to a conclusion “one way
or another.” Barry Schweid, Powell sees inspectors visit as key to Iraqi situation,
Associated Press (February 6, 2003) at http://www.westlaw.com/ALLNEWSPLUS/2-6-
03 ApWires. Shortly thereafter, Secretary of Defense Rumsfeld suggested the timetable
for invasion could be even shorter, coming with “days or weeks.” Carol Giacomo,
Rumsfeld says time running out for Iraq (Feb. 8, 2003) at
http://www.Reuters.Co.UK/News Articles.World News & Story, lD 2192950.

Since Secretary Powell’s presentation to the United Nations on February 5, 2003,
the President has begun to issue daily threats that imminent hostilities will soon
commence against lraq. On February 6, 2003, the President announced that “[w]e will
not wait to see what terrorists or terrorist states could do with chemical, biological,
radiological or nuclear weapons Saddam Hussein can now be expected to begin another
round of empty concessions transparently false denials No doubt, he will play a last-
minute game of deception. The game is over.” World Can Rise to T his Moment, White
House Press Release (February 6, 2003) at
http://www.whitehouse.gov/news/relcases/2003 (emphasis added). On February 7, 2003,
he warned the United Nations to “make up its mind soon” because the United States
would not wait long before leading a coalition to disarm Saddam l-lussein. Barry
Schweid, Bush urges U.N. to "‘make up its mind soon"' on Iraq, Associated Press (Feb. 7,

2003) at http://www.westlaw.com/ALLNEWSPLUS/2-7-03 ApWires One day

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following deployment of a fifth aircraft carrier to the Gulf region and a State Department
advisory to United States diplomats to leave their posts in lsrael, Syria, Jordan and
Lebanon for personal safety, President Bush stated that “[t]he United States along with a
growing coalition of nations will take whatever action is necessary to defend ourselves
and disarm the lraqi regime.” Adam Entous Bush says will act if U.N. balks (February 9,
2003), at http://Www.Reuters.co.UK/NewsArticles/World News & Story lD 2193602.
Echoing his earlier reference to a “game,” President Bush stated on February 10, 2003
“[Saddam] wants the world to think that hide and seek is a game that we should play.
And it’s over.” White House Press Release, February 10, 2003,
http://www.whitchouse.gov/news/releases/2003 (emphasis added). Arab leaders have
now abandoned diplomatic efforts to prevent war and are bracing for an imminent
conflict any day after February 15, 2003. Rana Sabbagh-Gargour, Leaders bracedfor an
imminent war, Times OnLine (February 10,2003) at http://www.timesonline.co.uk.

As a result of the administration’s plans to commence hostilities in lraq possibly
“within days,” according to Secretary Rumsfeld, the plaintiff soldiers will be placed in
harm’s way and the plaintiff parents of soldiers will suffer the risk of death or injury to
their children in an undeclared, unauthorized and unconstitutional war. The
constitutional right and authority of plaintiff Congressional representatives to decide
whether to declare war will be irreparably harmed. The threat of harm to all plaintiffs is
actual and imminent, and supports their request for this Court to grant immediate

injunctive relief.

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lll. THE PUBLIC INTEREST WILL BE SERVED BY THE ISSUANCE OF
AN INJUNCTION.

The decision whether to send United States armed forces into war is a momentous
decision for this nation. The public has a clear and immediate interest in participating in
that decision through their representation by Senators and Representatives in Congress as
required by the Constitution.

A war against lraq may result in thousands of deaths of United States soldiers and
lraqi citizens lf this war is commenced in violation of the Constitution, it will severely
undermine the rule of law and the separation of powers that the framers of the
Constitution carefully designed. The public has an interest in ensuring that the
Constitution is upheld, especially in matters of war and peace The Court should issue
the requested injunction to protect these public interests

IV. A BALANCING OF THE HARMS WEIGHS DECISIVE`LY IN FAVOR
OF THE PLAINTIFFS.

There are no countervailing harms of any weight to be balanced by the Court.
The Defendants do not have any authority to wage war against lraq absent a
Congressional declaration of war or equivalent action by the United States Congress
The requested injunction will prevent the Defendants from illegally and
unconstitutionally sending this nation into war. There is no legally-cognizable harm that
can result from such an inj unction.

Conclusion
For the foregoing reasons the Court should grant Plaintiffs’ motion for a

preliminary injunction and expedited hearing.

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Respectfully submitted
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February 13, 2003
Cl:`,l{'l`ll"lCA'l`E OF SERVICE

l hereby certify that l caused a true copy ol` the above document to be
served upon the United States Attorncy ofrecord by hand and the
Attorney General of the United States by mail on February 13, 2003.

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